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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

                                                              §
    In re:                                                    §      Chapter 11
                                                              §
    ULTRA PETROLEUM CORP., et al.,1                           §      Case No. 20-32631 (MI)
                                                              §
             Debtors.                                         §      (Jointly Administered)
                                                              §

               QUINN EMANUEL URQUHART & SULLIVAN, LLP’S FIRST AND
               FINAL APPLICATION FOR PAYMENT OF COMPENSATION AND
                    REIMBURSEMENT OF EXPENSES FOR THE PERIOD
                      MAY 14, 2020, THROUGH SEPTEMBER 14, 2020

             THIS MOTION SEEKS AN ORDER THAT MAY ADVERSELY AFFECT
             YOU. IF YOU OPPOSE THE MOTION, YOU SHOULD IMMEDIATELY
             CONTACT THE MOVING PARTY TO RESOLVE THE DISPUTE. IF YOU
             AND THE MOVING PARTY CANNOT AGREE, YOU MUST FILE A
             RESPONSE AND SEND A COPY TO THE MOVING PARTY. YOU MUST
             FILE AND SERVE YOUR RESPONSE WITHIN 21 DAYS OF THE DATE
             THIS WAS SERVED ON YOU. YOUR RESPONSE MUST STATE WHY
             THE MOTION SHOULD NOT BE GRANTED. IF YOU DO NOT FILE A
             TIMELY RESPONSE, THE RELIEF MAY BE GRANTED WITHOUT
             FURTHER NOTICE TO YOU. IF YOU OPPOSE THE MOTION AND
             HAVE NOT REACHED AN AGREEMENT, YOU MUST ATTEND THE
             HEARING. UNLESS THE PARTIES AGREE OTHERWISE, THE COURT
             MAY CONSIDER EVIDENCE AT THE HEARING AND MAY DECIDE
             THE MOTION AT THE HEARING.

             REPRESENTED            PARTIES          SHOULD           ACT       THROUGH             THEIR
             ATTORNEY.

TO THE UNITED STATES BANKRUPTCY JUDGE MARVIN ISGUR:

             COMES NOW, Quinn Emanuel Urquhart & Sullivan, LLP (“Quinn Emanuel”) and files

its First and Final Application for Payment of Compensation and Reimbursement of Expenses for


1
      The Debtors in these chapter 11 cases and the last four digits of each Debtor’s federal tax identification number
      (if any) are the following: Ultra Petroleum Corp. (3838); Keystone Gas Gathering, LLC (N/A); Ultra Resources,
      Inc. (0643); Ultra Wyoming, LLC (6117); Ultra Wyoming LGS, LLC (0378); UP Energy Corporation (4296);
      UPL Pinedale, LLC (7214); and UPL Three Rivers Holdings, LLC (7158). The Debtors’ service address is 116
      Inverness Drive East, Suite 400, Englewood, Colorado 80112.



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the Period May 14, 2020, through September 14, 2020 (the “Application”), for allowance of

compensation for professional services provided in the amount of $1,506,347.00 and

reimbursement of actual and necessary expenses in the amount of $558,941.42 that Quinn Emanuel

incurred for the period from May 14, 2020, through September 14, 2020 (the “Application

Period”), as special counsel for Ultra Petroleum Corp.; Keystone Gas Gathering, LLC; Ultra

Resources Inc.; Ultra Wyoming, LLC; Ultra Wyoming LGS, LLC; UP Energy Corporation; UPL

Pinedale, LLC; and UPL Three Rivers Holdings, LLC (collectively, the “Debtors” or “Ultra”) in

the above-captioned case and respectfully represents as follows:

                                          I.     JURISDICTION

          1.        Quinn Emanuel submits this Application pursuant to sections 330 and 331 of title

11 of the United States Bankruptcy Code (the “Bankruptcy Code”), rule 2016 of the Federal Rules

of Bankruptcy Procedures (the “Bankruptcy Rules”), rule 2016 of the Bankruptcy Local Rules (the

“Local Rules”) and in recognition of the Guidelines for Reviewing Applications for Compensation

and Reimbursement of Expenses Filed Under 11 U.S.C. § 330 by Attorneys in Larger Chapter 11

Cases Effective as of November 1, 2013 (the “US Trustee Guidelines”).

          2.        Pursuant to 28 U.S.C. § 1334, jurisdiction lies in this Court. This is a core

proceeding pursuant to 28 U.S.C. § 157(b). Venue properly lies in this Court pursuant to 28 U.S.C.

§§ 1408 and 1409.

                                    II.        RELIEF REQUESTED

          3.        Quinn Emanuel requests that the Court enter an order allowing Quinn Emanuel’s

compensation for professional services rendered during the Application Period in the amount of

$1,506,347.00 and reimbursement of actual and necessary expenses incurred by Quinn Emanuel

in the amount of $558,941.42.



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                                        III.   BACKGROUND

          4.        On May 5, 2020, the Debtors engaged Quinn Emanuel as special counsel with

respect to the Rockies Express Pipeline matters (the “REX Matters”), including the prospective

rejection of Ultra Resources, Inc.’s (“UR”) contract for transportation of natural gas (the “REX

Agreement”) with Rockies Express Pipeline LLC (“REX”).

          5.        On May 14, 2020 (the “Petition Date”), each of the Debtors filed a voluntary

petition for relief under chapter 11 of the Bankruptcy Code (the “Chapter 11 Cases”). The Debtors

are operating their businesses and managing their properties as debtors-in-possession pursuant to

section 1107(a) and 1108 of the Bankruptcy Code. On May 15, 2020, the Court entered an order

authorizing the joint administration and procedural consolidation of the Chapter 11 Cases pursuant

to Bankruptcy Rule 1015(b) (ECF No. 36). No entity has requested the appointment of a trustee

or examiner in these Chapter 11 Cases.

          6.        A description of the Debtors’ businesses, the reasons for commencing the Chapter

11 Cases, and the initial relief sought from the Court to allow for a smooth transition into chapter

11 are set forth in the Declaration of Brad Johnson in Support of Chapter 11 Petitions and First

Day Motions (filed at ECF No. 14) and incorporated herein by reference.

          7.        Along with other first-day pleadings, the Debtors filed (1) the Motion of Ultra

Resources, Inc. for Entry of an Order Authorizing Rejection of the Negotiated Rate Firm

Transportation Agreement with Rockies Express Pipeline LLC Effective as of the Petition Date

(the “Rejection Motion”) (ECF No. 7), (2) the Disclosure Statement for Debtors’ Joint Chapter 11

Plan of Reorganization of Ultra Petroleum and its Debtor Affiliates (the “Disclosure Statement”)

(ECF No. 18), and (3) the Joint Chapter 11 Plan of Reorganization of Ultra Petroleum and its

Debtor Affiliates (the “Plan”) (ECF No. 20).



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          8.        On May 26, 2020, UR filed a Complaint for Declaratory Judgment, Ex Parte

Temporary Restraining Order, and Preliminary and Permanent Injunction (the “Adversary

Proceeding Complaint”) (ECF No. 163) against the Federal Energy Regulatory Commission (the

“FERC”), seeking a declaratory judgment confirming the bankruptcy court’s exclusive jurisdiction

to determine UR’s right to reject the REX Agreement and to enjoin FERC from issuing any order

that might interfere with the bankruptcy court’s exclusive jurisdiction to decide the Rejection

Motion.

          9.        On June 4, 2020, the Debtors filed the Application for Entry of an Order

Authorizing the Employment and Retention of Quinn Emanuel Urquhart & Sullivan, LLP as

Special Counsel (the “Retention Application”) (ECF No. 192) and on June 29, 2020, this Court

approved the Retention Application (the “Retention Order”) (ECF No. 354).

          10.       After a several-day evidentiary hearing (the “Rejection Hearing”), on August 21,

2020, the Court entered its Memorandum Opinion (ECF No. 721) and the Order Approving

Rejection of REX Agreements (the “Order Approving Rejection”) (ECF No. 722).

          11.       On August 26, 2020, REX filed a Notice of Appeal, appealing the Court’s Order

Approving Rejection (ECF No. 746) and on August 31, 2020, the FERC filed its Notice of Appeal

and Statement of Election (ECF No. 764).

          12.       The Court entered its Order Approving the Debtors’ Disclosure Statement and

Confirming the Second Amended Joint Chapter 11 Plan of Reorganization of Ultra Petroleum and

its Debtor Affiliates (the “Confirmation Order”) (ECF No. 736) on August 22, 2020.

        IV.       TERMS AND CONDITIONS OF EMPLOYMENT AND COMPENSATION

          13.       The Retention Applications outlines the terms and conditions of Quinn Emanuel’s

employment by the Debtors and the compensation to be paid to Quinn Emanuel by the Debtors.



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See ECF No. 192. As set forth in the Retention Application, the Debtors’ estates are to pay Quinn

Emanuel’s customary fees and expenses incurred in connection with this representation.

               V.        PROFESSIONAL SERVICES PROVIDED BY QUINN EMANUEL

          14.       Quinn Emanuel represented the Debtors in the REX Matters, including the

Rejection Motion. The following is a summary, by matter, of the significant professional services

Quinn Emanuel rendered during the Application Period.

          a.        Case Administration: Fees: $24,923.00; Hours: 97.6. The tasks in this category

include drafting notices, setting up the database of documents for review, reviewing documents,

and obtaining transcripts of hearings.

    PROFESSIONAL                 HOURS BILLED           HOURLY RATE              TOTAL FEES
 Patricia B. Tomasco                 1.1                  $1,200.00                   $1,320.00
 Katherine A. Scherling               .3                  $1,015.00                     $304.50
 Ari Roytenberg                       .6                   $825.00                      $495.00
 Alice H. Lee                         5.9                  $425.00                    $2,507.50
 Lena Valentin                       20.5                  $380.00                    $7,790.00
 Barbara J. Howell                   2.2                   $355.00                      $781.00
 Joe Liao                            67.0                  $175.00                   $11,725.00
 Total                               97.6                                            $24,923.00

          b.        Retention/Fee Matters: Fees: $18,523.00; Hours: 44.1. This tasks in this category

include drafting the retention pleadings on behalf of Quinn Emanuel, drafting, filing, and serving

the monthly fee statements, and drafting the Application.

    PROFESSIONAL                 HOURS BILLED           HOURLY RATE              TOTAL FEES
 Patricia B. Tomasco                 2.3                  $1,200.00                   $2,760.00
 Katherine A. Scherling               1.4                 $1,015.00                   $1,421.00
 Barbara J. Howell                   40.4                  $355.00                   $14,342.00
 Total                               44.1                                            $18,523.00

          c.        Assumption and Rejection of Leases: Fees: $1,454,302.00; Hours: 1,454.6. The

tasks in this category include, among other things (i) researching and drafting the Motion to Reject

and multiple related briefs, (ii) researching and drafting the Adversary Proceeding Complaint, (iii)


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working with the Debtors’ expert, Dr. Jeff Makholm, in connection with the preparation of his

expert report and his deposition and trial testimony, (iv) preparing and responding to discovery

requests, including reviewing documents for privilege, (v) preparing for, attending, and taking

multiple depositions, and (vi) preparing for, attending, and participating in numerous hearings,

including the Rejection Hearing.

    PROFESSIONAL                  HOURS BILLED           HOURLY RATE               TOTAL FEES
 Benjamin Finestone                   318.9                $1,200.00                   $382,680.00
 K. John Shaffer                      11.5                 $1,595.00                    $18,342.50
 Deborah Newman                       279.0                $1,200.00                   $334,800.00
 William Adams                         1.2                 $1,200.00                     $1,440.00
 Matthew R. Scheck                    15.2                 $1,100.00                    $16,720.00
 Katherine A. Scherling               374.1                $1,015.00                   $379,711.50
 Ari Roytenberg                       325.4                 $825.00                    $268,510.00
 Razmig Izakelian                      5.2                  $950.00                      $4,940.00
 Eva Korol                             49.6                 $380.00                     $18,848.00
 Lena Valentin                          3.5                 $380.00                      $1,330.00
 Olubayo Evans                        37.0                  $380.00                     $14,060.00
 Sharon Agami                         34.0                  $380.00                     $12,920.00
 Total                               1,454.6                                         $1,454,302.00

          d.        Claims Administration: Fees: $360.00; Hours: .3. The tasks in this category include

reviewing the United States Trustee’s changes and coordinating the filing of the documents.

  PROFESSIONAL                  HOURS BILLED             HOURLY RATE               TOTAL FEES
 Patricia B. Tomasco                 .3                    $1,200.00                      $360.00
 Total                               .3                                                   $360.00

          e.        District Court Appeal: Fees: $8,239.00; Hours: 11.6. The tasks in this category

include reviewing the appeals filed by REX and the FERC, preparing and filing pro hac vice

motions, and calendaring deadlines for the appeals.




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  PROFESSIONAL                 HOURS BILLED            HOURLY RATE             TOTAL FEES
 K. John Shaffer                    .4                   $1,595.00                    $638.00
 William Adams                     1.0                   $1,200.00                  $1,200.00
 Benjamin Finestone                1.9                   $1,200.00                  $2,280.00
 Patricia B. Tomasco                .5                   $1,200.00                    $600.00
 Ari Roytenberg                    1.6                    $825.00                   $1,320.00
 Barbara Howell                     6.2                   $355.00                   $2,201.00
 Total                             11.6                                             $8,239.00

                               VI.    COMPENSATION REQUESTED

          15.       In this Application, Quinn Emanuel seeks approval of $1,506,347.00 in fees and

$558,941.42 in expenses from May 14, 2020, through September 14, 2020. Pursuant to the US

Trustee Guidelines, Exhibit A is the chart reflecting customary and comparable compensation

disclosures with fee applications, Exhibit B is a chart summarizing the timekeepers included in

this Application, Exhibit C is the budget, and Exhibit D is a chart with a summary of compensation

requested by project category.         The blended rate for Quinn Emanuel timekeepers in this

Application is $936.67.

          16.       Pursuant to the Order (A) Establishing Procedures for Interim Compensation and

Reimbursement of Expenses for Professionals and (B) Granting Related Relief (the “Interim

Compensation Order”) (ECF No. 317), Quinn Emanuel filed and served 4 monthly fee statements.




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    FEE STATEMENT                        REQUESTED                PAID      DATE PAID
 First     Monthly      Fee       Fees: $229,665.20 (80% of $22,665.20 and August 27, 2020
 Statement for the Period         $287,081.50);    Expenses: $33.70
 May 15, 2020, through            $33.70
 May 31, 2020 (ECF No.
 383)
 Second Monthly Fee               Fees: $384,142.80 (80% of $384,142.80 and August 26, 2020
 Statement for the Period         $480,178.50);    Expenses: $26,024.60
 June 1, 2020, through            $26,024.60
 June 30, 2020 (ECF No.
 535)
 Third     Monthly      Fee       Fees: $455,966.80 (80% of $455,966.80 and September             25,
 Statement for the Period         $569,958.50);    Expenses: $334,644.05    2020
 July 1, 2020, through July       $334,644.05
 31, 2020 (ECF No. 751)
 Fourth Monthly Fee               Fees: $131,692.80 (80% of Pending
 Statement for the Period         $164,616.00);    Expenses:
 August 1, 2020, through          $174,658.75
 August 31, 2020 (ECF
 No. 813)

Quinn Emanuel did not submit a monthly fee statement for fees and expenses incurred from

September 1, 2020, through September 14, 2020, but includes these fees and expenses in this

Application. The invoice for the period September 1, 2020, through September 14, 2020, is

attached hereto as Exhibit 1.

          17.       This Application readily meets the standards of section 331 and applicable case law

for compensation for services rendered on behalf of the Debtor’s estates and for the administration

of these cases. The Fifth Circuit outlined the contours of the requirements for allowance of

compensation under section 330 in Barron & Newburger, P.C. v. Tex. Skyline, Ltd., (In re

Woerner), 783 F.3d 266 (5th Cir. 2015). In Woerner, the Fifth Circuit held that a court would allow

compensation to an attorney for services that are “reasonably likely to benefit” the estate and that

a court should adjudge the reasonableness of requested compensation” at the time at which the

services were rendered.” Id. at 273-74. The compensation requested in the Application meets the

requirements of section 331 as delineated by the Fifth Circuit and should be approved.

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          18.       Quinn Emanuel provided necessary and beneficial services to the Debtor in myriad

ways. The time Quinn Emanuel spent on services rendered and the rates charged for such services

were reasonable and necessary to fully protect the Debtors’ estates consistent with Quinn

Emanuel’s role as special counsel and to maximize the dividend in line with the Johnson 2 factors

adopted by the Fifth Circuit in In re First Colonial Corp., 544 F.2d 1291, 1299 (5th Cir. 1977), as

follows:

                    (a)    The Time and Labor Required

          19.       As further illustrated by the fee breakdown in the Summary Cover Sheet, the

amount of time spent by Quinn Emanuel professionals and paraprofessionals on this case for the

Application Period is 1,608.2 hours.

                    (b)    The Novelty and Difficulty of the Questions Presented by the Case

          20.       This case has presented difficult questions of fact and law relevant to both

bankruptcy and applicable non-bankruptcy law. Specifically, the REX Matters involved novel

issues at the intersection of the Bankruptcy Code and energy regulatory law.

                    (c)    The Skill Requisite to Perform the Legal Services Properly

          21.       Quinn Emanuel attorneys possess the skill required to properly perform the legal

service involved, in particular bankruptcy law expertise, as well as practice experience before this

Court and knowledge of its Local Rules.

                    (d)    The Preclusion of Other Employment by the Attorneys due to
                           Acceptance of this Case

          22.       Attorneys at Quinn Emanuel were not necessarily precluded from employment on

other cases by the size and exigency of this case.



2
     See Johnson v. Georgia Highway Express, Inc., 488 F.2d 714 (5th Cir. 1974).

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                    (e)    The Customary Fee for Similar Work in the Community

          23.       The fees charged by Quinn Emanuel compare favorably with the fees charged by

other counsel in similar cases in this jurisdiction. Quinn Emanuel sets its fees consistent with

available market data for similarly sized and situated firms given the years of experience of each

attorney. In addition, Quinn Emanuel employs associates and a paralegal on this case in lieu of a

single attorney, resulting in a blended rate of $936.67 per hour. Quinn Emanuel’s blended rate

compares favorably with hourly rates charged by practitioners in cases of this size.

                    (f)    Whether the Fees are Fixed or Contingent

          24.       Quinn Emanuel attorneys in this case do not charge either fixed or contingent fees.

                    (g)    Time Pressures Imposed by the Client or Circumstances

          25.       The circumstances of the bankruptcy case imposed time pressures since these were

prepackaged chapter 11 cases, and the REX Matter had to be resolved prior to confirmation on an

expedited hearing and briefing schedule.

                    (h)    The Amount Involved and Results Obtained as a Result of the Attorney
                           Services

          26.       As a result of Quinn Emanuel’s services, strategy, and efficiency as special counsel

to UR, the Court ruled that UR could reject the REX Agreement. Absent rejection, UR would

have been required to pay $169-178 million over the course of the next 5 ½ years for capacity it

never needed and will never need, to the detriment of the Debtors’ going concern and creditor

recoveries. Rejection of the REX Agreement clearly was in the estates’ best interest.

                    (i)    The Experience, Reputation, and Ability of the Attorneys

          27.       The Quinn Emanuel attorneys involved in the work on behalf of the Debtors

represents decades of experience, including representation of chapter 11 debtors and committees.

The Quinn Emanuel attorneys bring extensive experience in bankruptcy law to these bankruptcy

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cases and have substantial experience practicing in this Court and extensive familiarity with

applicable Fifth Circuit bankruptcy law necessary to the represent the Debtors.

                    (j)    The Undesirability of the Cases

          28.       Every bankruptcy case carries some risks due to the uncertainty of payment

stemming from the relatively unknown value of the debtor’s principal assets and the debtor’s

ability to pay administrative fees and costs. These cases presented no additional undesirable

elements.

                    (k)    The Nature and Length of the Professional Relationship with the Client

          29.       As stated in the Retention Application, the Debtors engaged Quinn Emanuel as

special counsel with respect to the REX Matters on May 5, 2020. Quinn Emanuel did not have a

prior client relationship with the Debtors.

                    (l)    Awards in Similar Cases

          30.       The fees herein requested are in line with fee awards approved in similar cases by

counsel with similar sophistication and experience.

          31.       In sum, the services provided by Quinn Emanuel have been necessary to the

administration of the Debtors and beneficial at the time at which the services were rendered.

Further, Quinn Emanuel performed the services within an expedited schedule, devoted an amount

of time commensurate with the complexity, importance, nature of the problems, issues, and tasks

addressed on behalf of the Debtors. Finally, the compensation sought is reasonable based on the

customary compensation charged by comparably skilled practitioners in cases under title 11 of the

district. Quinn Emanuel requests that the Court determine the nature, extent, and value of these

services were appropriate under the circumstances at the time the services were rendered.




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            VII.         STATEMENT PURSUANT TO THE US TRUSTEE GUIDELINES

          Pursuant to the US Trustee Guidelines, Quinn Emanuel states as follows:

          Did you agree to any variations from, or alternatives to, your standard or customary billing
          rates fees, or terms for services pertaining to this engagement that were provided during
          the application period? If so, please explain.

          Response: No.

          If the fees sought in this fee application as compared to the fees budgeted for the time
          period covered by this fee application are higher than 10% or more, did you discuss the
          reasons for the variation with the Client?

          Response: A budget was not prepared in this case.

          Have any of the professionals included in this fee application varied their hourly rate based
          on the geographic location of the bankruptcy case?

          Response: No.

          Does the fee application include time or fees related to reviewing or revising time records
          or preparing, reviewing, or revising invoices? (This is limited to work involved in preparing
          and editing billing records that would not be compensable outside of bankruptcy and does
          not include reasonable fees for preparing a fee application.) If so, please quantify by hours
          and fees.

          Response: No.

          Does this fee application include time or fees for reviewing time records to redact any
          privileged or other confidential information? If so, please quantify by hours and fees.
          Response: No.

          If the fee application includes any rate increase since retention:

          a.        Did your client review and approve those rate increases in advance?

          b.        Did your client agree when retaining the law firm to accept all future rate increases?
                    If not, did you inform your client that they need not to agree to modify rates or
                    terms in order to have you continue the representation consistent with ABA Formal
                    Ethics Opinion 11-458.

          Response: This Application does not include any rate increases.

          WHEREFORE, PREMISES CONSIDERED, Quinn Emanuel Urquhart & Sullivan, LLP

requests that this Court enter an order granting this first and final allowance of compensation for

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professional services rendered during the Application Period in the amount of $1,506,347.00 and

reimbursement of actual and necessary expenses incurred by Quinn Emanuel Urquhart & Sullivan,

LLP during the Application Period in the amount of $558,941.42, authorizing and directing the

Debtors to pay the fees and expenses as requested, and grant such other and further relief as is just

and proper.

          Respectfully submitted this 29th day of October, 2020.

                                              QUINN EMANUEL URQUHART &
                                              SULLIVAN, LLP

                                              By: /s/ Patricia B. Tomasco
                                              Patricia B. Tomasco (SBN 01797600)
                                              711 Louisiana, Suite 500
                                              Houston, Texas 77002
                                              Telephone: 713-220-7000
                                              Facsimile: 713-220-7100
                                              Email: pattytomasco@quinnemanuel.com

                                              -and-

                                              Susheel Kirpalani (admitted pro hac vice)
                                              Benjamin I. Finestone (admitted pro hac vice)
                                              Kate Scherling (admitted pro hac vice)
                                              61 Madison Avenue, 22nd Floor
                                              New York, New York 10010
                                              Telephone: 212-849-7000
                                              Facsimile: 212-849-7100
                                              Email: susheelkirpalani@quinnemanuel.com
                                                     benjaminfinestone@quinnemanuel.com
                                                     katescherling@quinnemanuel.com

                                              SPECIAL COUNSEL TO THE DEBTORS




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                                            EXHIBIT A
               CUSTOMARY AND COMPARABLE COMPENSATION DISCLOSURES WITH FEE APPLICATIONS

           CATEGORY OF TIMEKEEPER                                         BLENDED HOURLY RATE
    (using categories already maintained by the firm)
                                                           BILLED OR COLLECTED                         BILLED
                                                        Firm or offices for preceding year      In this fee application
                                                              excluding bankruptcy
 Partner                                                                            $1,021.20                     $1,249.17
 Of Counsel                                                                           $861.51                     $1,015.00
 Associate                                                                           $698.10                       $887.50
 Paraprofessional                                                                     $277.32                      $335.00
 All Timekeepers Aggregate                                                            $779.76                       $750.59
 Attorneys Only                                                                      $829.16                       $843.21



Case Name: Ultra Petroleum Corp., et al.
Case Number: 20-32631
Applicant’s Name: Quinn Emanuel Urquhart & Sullivan,
LLP Date of Application: October 29, 2020
Interim or Final: Final




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                                                     EXHIBIT B
                                SUMMARY OF TIMEKEEPERS INCLUDED IN THIS FEE APPLICATION

        NAME             TITLE OR     DEPARTMENT,          DATE OF     FEES BILLED       HOURS      HOURLY RATE     HOURLY       NUMBER
                         POSITION      GROUP, OR            FIRST        IN THIS       BILLED IN      BILLED IN   RATE BILLED     OF RATE
                                        SECTION           ADMISSION    APPLICATION        THIS           THIS       IN FIRST    INCREASES
                                                                                      APPLICATION   APPLICATION     INTERIM     SINCE CASE
                                                                                                                  APPLICATION   INCEPTION
 Benjamin Finestone       Partner       Bankruptcy        05/03/2005    $384,960.00      320.8        $1,200.00       N/A           N/A
 K. John Shaffer          Partner       Bankruptcy        06/27/1991     $18,980.50       11.9        $1,595.00       N/A           N/A
 William Adams            Partner        Appellate        01/04/2006     $2,640.00        2.2         $1,200.00       N/A           N/A
 Matthew R. Scheck        Partner       Bankruptcy        12/01/2010     $16,720.00       15.2        $1,100.00       N/A           N/A
 Deborah Newman           Partner       Bankruptcy         10/9/2003    $334,800.00      279.0        $1,200.00       N/A           N/A
 Patty Tomasco            Partner       Bankruptcy        11/10/1988     $5,040.00        4.2         $1,200.00       N/A           N/A
 Katherine A.            Of Counsel     Bankruptcy        04/12/2010    $381,437.00      375.8        $1,015.00       N/A           N/A
 Scherling
 Razmig Izakelian        Associate      Bankruptcy        12/04/2013     $4,940.00        5.2         $950.00         N/A
 Ari Roytenberg          Associate      Bankruptcy        09/21/2020    $270,325.00      327.6        $825.00         N/A
 Lena Valentin            Attorney    Contract Attorney   10/28/2013     $9,120.00        24.0        $380.00         N/A
 Eva Korol                Attorney    Contract Attorney   01/11/2012     $18,848.00       49.6        $380.00         N/A
 Sharon Agami             Attorney    Contract Attorney   09/21/2010     $12,920.00       34.0        $380.00         N/A
 Olubayo Evans            Attorney    Contract Attorney   07/19/2007     $14,060.00       37.0        $380.00         N/A
 Alice H. Lee            Law Clerk          N/A                          $2,507.50        5.9         $425.00         N/A
 Barbara J. Howell       Paralegal      Bankruptcy                       $17,324.00       48.8        $355.00         N/A          N/A
 Joe Liao                Litigation         N/A                          $11,725.00       67.0        $175.00         N/A          N/A
                          Support



Case Name: Ultra Petroleum Corp., et al.
Case Number: 20-32631
Applicant’s Name: Quinn Emanuel Urquhart & Sullivan,
LLP Date of Application: October 29, 2020
Interim or Final: Final




09971-00001/12343817.1
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                                                                          EXHIBIT C-1
                                                                           BUDGET

If the parties consent or the court so directs, a budget approved by the client in advance should generally be attached to each interim and final fee application filed
by the applicant. If the fees sought in the fee application vary by more than 10% from the budget, the fee application should explain the variance. No budget was
submitted.

                                             PROJECT CATEGORY                                                              ESTIMATED               ESTIMATED
                                                                                                                             HOURS                    FEES
 Case Administration
 Special Committee Corporate & Governance Matters
 Claims Administration
 Sale and Lease Matters
 Financing (DIP and Emergence)
 Disclosure Statement/Plan/Confirmation
 Retention/Fee Matters
 Non-Working Travel
 Assumption & Rejection of Leases
 District Court Appeal
 Total

Case Name: Ultra Petroleum Corp., et al.
Case Number: 20-32631
Applicant’s Name: Quinn Emanuel Urquhart & Sullivan,
LLP Date of Application: October 29, 2020
Interim or Final: Final




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                                               EXHIBIT D-1
                          SUMMARY OF COMPENSATION REQUESTED BY PROJECT CATEGORY

                              PROJECT CATEGORY                        HOURS       FEES      HOURS            FEES
                                                                     BUDGETED   BUDGETED    BILLED        SOUGHT
 Case Administration                                                                              97.6      $24,923.00
 Claims Administration                                                                              .3         $360.00
 Retention/Fee Matters                                                                            44.1      $18,523.00
 Assumption & Rejection of Leases                                                              1,454.6   $1,454,302.00
 District Court Appeal                                                                            11.6       $8,239.00
 Total                                                                                         1,608.2   $1,506,347.00

Case Name: Ultra Petroleum Corp., et al.
Case Number: 20-32631
Applicant’s Name: Quinn Emanuel Urquhart & Sullivan,
LLP Date of Application: October 29, 2020
Interim or Final: Final




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Los Angeles, California 90017                                         BRUSSELS | SEATTLE | ZURICH | SHANGHAI |STUTTGART |PERTH |
                                                                      SALT LAKE CITY |




                                                       October 07, 2020



Kason D. Kerr
General Counsel
Ultra Petroleum Corp.
116 Inverness Drive East, Suite 400
Englewood, CO 80112

Matter #: 09971-00001
Invoice Number: 101-0000107931
Responsible Attorney: Benjamin Finestone



                                                   Special Counsel to UPL



For Professional Services through September 14, 2020 in connection with serving as special counsel to Ultra
Petroleum Corp. in connection with advising UPL with respect to UPL’s firm transportation agreement with
Tallgrass Energy Partners/Rockies Express Pipeline, including in connection with any chapter 11 bankruptcy
proceedings and related matters concerning FERC.



                                                               Fees                                                   $4,512.50
                                                         Expenses                                                    $23,580.32
                                                    Net Amount                                                       $28,092.82
                                        Total Due This Invoice                                                       $28,092.82

                  Balance Due from Previous Statement(s)                                                            $606,718.45
                                              Total Balance Due                                                     $634,811.27




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October 07, 2020                                                                                             Matter #: 09971-00001
Page 2                                                                                             Invoice Number: 101-0000107931

                                                         Statement Detail

UP01 Case Administration


09/14/20          BH2                Review ECF filings and calendar                                               0.40               142.00
                                     hearing dates and deadlines.

                                                                     SUBTOTAL                                      0.40               142.00

UP07 Retention / Fee Matters


09/01/20          BH2                Draft First Interim Fee Application                                           7.30              2,591.50
                                     (6.1); proposed Order (.6); and Notice
                                     (.6).

09/04/20          BH2                Review emails from J. Delhey and M.                                           0.50               177.50
                                     Brown (FTI Consulting) regarding
                                     Quinn Emanuel's pre-petition fees
                                     (.2) and email K. Busch to obtain
                                     information as requested by J. Delhey
                                     and M. Brown (.1); forward
                                     information for their review (.2).

09/08/20          BH2                Begin to prepare August Monthly Fee                                           1.60               568.00
                                     Statement.

09/09/20          BH2                Review email from J. Delhey (FTI)                                             0.20                71.00
                                     and respond with August
                                     information.

                                                                     SUBTOTAL                                      9.60              3,408.00

UP09 Assumption & Rejection of Leases


09/11/20          AR0                Call with co-counsel and B. Finestone                                         1.10               962.50
                                     regarding appeal (.5); review appeal
                                     materials (.6).

                                                                     SUBTOTAL                                      1.10               962.50



                                                           Fee Summary

Attorneys                          Init.         Title                                 Hours                 Rate                    Amount
Ari Roytenberg                     AR0           Associate                              1.10               875.00                     962.50

Case Assistants                    Init.         Title                                 Hours                  Rate                   Amount

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quinn emanuel trial lawyers
October 07, 2020                                                                                             Matter #: 09971-00001
Page 3                                                                                             Invoice Number: 101-0000107931

Barbara J Howell                   BH2           Paralegal                               10.00             355.00                    3,550.00



                                                        Expense Summary

Description                                                                                                                          Amount

Document Reproduction                                    0.10                                                                            5.00

Professional services - Other                                                                                                    23,575.32

                                                                Total Expenses                                                  $23,580.32




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                                                                    SALT LAKE CITY |




                                               Current Invoice Summary

Matter Name : Special Counsel to UPL



Matter #: 09971-00001                                          Total Fees..........................................................$4,512.50
Bill Date: October 07, 2020                                     Expenses........................................................$23,580.32
Invoice Number: 101-                               Total Due this Invoice........................................................$28,092.82
0000107931                                             Payment Due By November 08, 2020

                                                      Account Summary

                            Balance Due from Previous Statement(s)......................................................$606,718.45
                                                Total Balance Due......................................................$634,811.27

                                               Current Account Summary

Date           Invoice No.      Month of Service              Amount Billed Payments Applied                        Outstanding Amount
06/08/20       101-             May 2020                        $287,115.20      $229,698.90                                  $57,416.30
               0000103165
07/21/20       101-             June 2020                          $506,203.10                  $410,167.40                         $96,035.70
               0000105414
08/19/20       101-             July 2020                          $904,602.55                  $790,610.85                       $113,991.70
               0000106427
09/17/20       101-             August 2020                        $339,274.75                           $0.00                    $339,274.75
               0000107492
10/07/20       101-             September 2020                      $28,092.82                           $0.00                      $28,092.82
               0000107931




Please reference invoice number and send check to:

Quinn Emanuel Urquhart & Sullivan, LLP
865 S. Figueroa St., 10th Floor
Los Angeles, CA 90017

Or Wire funds                                    City National Bank
to:                                              555 South Flower St., 12th Floor
                                                 Los Angeles, CA 90071
Account Info:                                    Quinn Emanuel Urquhart & Sullivan, LLP
Bank Account:                                    Deposit Account #210032347
Bank ABA No.:                                    1220-16066
Swift Code:                                      CINAUS6L
References:                                      Invoice number and client name / matter number please
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